                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )       Criminal No. 2:11-00002-16
                                                )       Judge Trauger
ROBERT DUANE HICKS                              )
                                                )

                                        ORDER

       The Unopposed Motion to Dismiss filed by the government (Docket No. 291) is

GRANTED. It is hereby ORDERED that the pending Indictment against this defendant is

DISMISSED WITHOUT PREJUDICE, and he is ORDERED released from pretrial detention

on this case.

       It is so ORDERED.

       ENTER this 20th day of May 2011.


                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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